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                                ~RiGINAL                                _              `°~f~
                          IN ~ iINITID STAB DIS'IRIGT OOUIrr                          ILED
                                                                            ~~K U.S. pISTRICTCOURT
                        FC)R THE C:FNiRAT. DISTRICT OF ('AT.TFYSRNTA

  vrrrrID s~~s of ~cA,                                                         ~- 6 2019
      Elaintiff-Respondent,                  )                         ,u___


 ~•                                          ~    C~minal fie: Qt-89-874-TJH


 HFX'inR TAPIR ANQi~IDO,
       n~~a~,t-tKov~t.
                    MOrI'ION FOR OOMPASSIONATE RII~~SE PURSUANT TD
                               18 U.S.C. 35 2 C 1 A


      somas now, I~("POR TAPIR ANQ~IDO, pro-se, Movant, respectfully moves this

 Honorable Court pursuant to 18 U.S.C. § 3582(c)(1)(A), for an Order reducing

 his term of inmprisonment from life, to time served based on the following

 reasons.


 JURISDICiTON


 A. 'IBIS COURT HAS AUrEIORITY 'PO RFSIIJTII~ICE TAPIR UNDIIt SECTION . 18: U.S.C. § 3582
(c)(1)(A)(i1. FOR THE EXTRAORDINARY AND OOMPELLING RF~.SONS PRF~IIV'I'F,D HIItEIN.


      With the changes made to the compassionate release statute by the First

 Step Act, courts need not await a motion from the Director of BOP to resentence

 prisoners to time served under 18 U.S.C. 5 3582(c)(1)(A)(i) for "extraordinary

 and ca-npelling reasons," and the reasons that can justify resentencing need not

involve only medical, elderly, or family circumstances.

      When Congress originally enacted § 3582 in 1984, it intended for district

courts to reduce sentences for prisoners on the basis of exordinary and

compelling reasons not limited to medical, family, or elderly circumstances.

Congress first enacted the modern form of the compassionate release statute

contained in t8 U.S.C. S 3582- as part of the Comprehensive Crime Control Act
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  of 1984.    Section 3582(c) states that a district court can modify even a final

 "term of imprisonment" in four situations, the broadest of which is directly

  relevant here.    A sentencing court can reduce a sentence if and whenever

 "extraordinary and compelling reasons warrant such a reduction." 18 U.S.C. §

  3582(c)(1)(A)(i).    In 1984, Congress conditioned the reduction of sentences on

  the BOP Director filing an initial motion in the sentencing court; absent such

  a motion, sentencing courts had no authority to modify a prisoner's sentence

 for extraordinary and compelling reasons. Id.

      Congress never defined what constitutes an "extraordinary and compelling

 reason" for resentencing under 5 3582(c).     But the legislative history gives an
 indication of how Congress thought the statute should be employed by federal

 courts.     One of Congress's initial goals in passing the Comprehensive Crime

 Control Act was to abolish federal parole and create a "completely restructured

 guidelines sentencing system." S. Rep. No. 98-225, at 52, n. 74 (1983).       Yet,

 recognizing that parole historically played a ley role in responding to

 changed circumstances, the Senate Committee stressed how some individual cases

 may still warrant a second look at resentencing:

      The Committee believes that there may be unusual cases in which an
      eventual reduction in the length of a term of imprisonment is
      justified by changed circumstances. These would include cases of
      severe illness, cases in which other extraordinary and compelling
      circumstances justify a reduction of an unusually long sentence, and
      some cases in which the defender was convicted have been later amended
      to provide a shorter term of imprisonment.

 Id. at 55, 56 (emphasis added). Rather than having the Parole Commission

 review every federal sentence focused only on an offender's rehabilitation,

 Congress decided that S 3582(c) could and would enable courts to decide, in

individual cases, if "there is a justification for reducing a term of

imprisonment." Id. at 65.

     Coagress:~.ritended for the situations listed in § 3582(c) to act as "safety




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  valves for modification of sentences," Id.at 121, that enable sentence

  reductions when justified by various factors that previously could have been

  addressed through the (now abolished) parole system.   This particular safety

  valve would "assure the availability of specific review and reduction to a term

  of imprisonment for 'extraordinary and compelling reasons' and [would allow

 courts] to respond to changes in the guidelines." Id.    Noting that this

 approach would keep "the sentencing power in the judiciary where it belongs,"

 rather than with a federal parole board, the statute permitted "later review of

 sentences in particularly compelling situations." Id. (emphasis added).

      Congress thus intended to give federal sentencing courts an equitable

 power that would be employed on an individualized basis to correct

 fundamentally unfair sentences.   And there is no indication that Congress

 limited the safety valve of 5 3582(c)(1)(A) to medical or elderly release; if

 extraordinary and compelling circumstances were present, they could be used to

 "justify a reduction of an unusually long sentence." S. Rep. No. 98-225, at

 55-56.


 B. TIE UNITID STATES SII~TI~ICING CON~IISSION CONCLUDID THAT ~ 3582(c)(1)(A)'S
 EXTRAORDINARY AND COMPELLING REASONS FOR CAMPASSIONATE RII,EASE ARE NOT LIMITID
 TO N~ICAL, ELDEEtLY, OR FAMILY CIRCUMSTANCFS.


      Congress initially delegated the responsibility for determining what

 constitutes "extraordinary and compelling reasons" to the U.S. Sentencing

 Commission ("Commission"). See 28 LU.~.C. 5 994(t) ("'Ihe Coaanission...shall

 describe what should be considered extraordinary and compelling reasons for

sentence reduction, including the criteria to be applied and a list of

specific examples."). Congress provided only one limitation to that delegation

of authority:"[r]ehabilitation of the defendant alone shall not be considered

an extraordinary and compelling reason." 28 U.S.C. § 994(t) (emphasis added).
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  Congress no doubt limited the ability of   rehabilitation alone to constitute
  extraordinary circumstances so that sentencing courts could not use it as a

  full and direct substitute for the abolished parole system.     Congress, however,
  contemplated that rehabilitation could be considered with other extraordinary

  and ;~cjmpe~l ~g~ reasons sufficient to resentence people in individual cases.

  Indeed, the use of the modifier "alone" signifies just the opposite: that

 rehabilitation could be used in tandem with other factors to justify a

 reduction.

      T'he Cor~nission initially neglected its duty, leaving the BOP to fill the

 void and create the standards for extraordinary and compelling reasons

 warranting resenten~ing under § 3582(c)(1)(A)1      'Ihe Commission finally acted
 in 2007, promulgating a policy that extraordinary and compelling reasons

 includes medical conditions, age, family circumstances, and "other reasons."

 U.S.S.G. § 1B1.13, application note 1(A).   After~a negative DOJ Inspector
 General Bureau of Prisons' Compassionate Release Program (Apr. 2013) ("FBOP

 Compassionate Release Program"), the Co~nission amended its policy statement,

 expanding the guidance to courts on qualifying conditions and admonishing the

 BOP to file motions for compassionate release whenever a prisoner was found to

 meet the objective criteria in U.S.S.G. 5 1B1.13.    Id. at application note 4;
 see-also United States v. Dimasl, 220 F.Supp. 3d 173, 175 (D. Mass. 2016)

(discussing the progression from the OIG report to new "encouraging"

guidelines).

     The Commission created several categories of qualifying reasons: (A)


1•   BOP promulgated policies governing compassionate release. The latest
version prior to passage of the First Step Act was Program Statement 5050.49,
Compassionate Release/Reduction in Sentences (Mar. 25, 2015).




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  "Medical Conditions of the Defendant," including terminal illness and other

  serious conditions and impairments; (B) "fie of the Defendant," for those 65

  and older with serious deterioration related to aging who have completed at

  least 10 years or 75 percent of the term of imprisonment; (C) "Family

  Circumstances," where a child's caregiver or. spouse dies or becomes

  incapacitated without an alternative caregiver, and (D) "Other Reasons," when

  the Director of the BOP determines there is "an extgraordinary and compelling

  reason other than, or in combination with   the reasons described in
  subdivisions (A) through (C)." Id., application note 1(A). 'Ihe Commission

  also clarified that the extraordinary and compelling reasons "need not have

 ,been unforeseen at the time of sentencing in order to warrant a reduction in

  the term of imprisonment." U:S.S.G. 5 1B1.13, application note 2.   In other
 words, even if an "extraordinary and compelling reason reasonably could have

 been known or anticipated by the sentencing court, [that fact] does not

 preclude consideration for a [sentence) reduction." Id.

      Consistent with the text and legislative history of S 3582(c), the

 Commission concluded that reasons beyond medical, age, and family circumstances

 could qualify as "extraordinary or compelling reasons" for resentencing, and

 that the extraordinary or compelling reasons need not be based on changed

 circumstances occurring after the initial sentencing of the defendant.


 C. TI~tOUGH THE FIRST STEP ACT, CONGRESS CHANGID THE PROCESS FOR COMPASSIONATE
 RELEASE BASS ~T CRITICISM OF BOP'`S INADEQUATE USE OF IT'S AUTHORITY T~0 ACT ON
 ITS OWN TO RIDUCE SIIVI~TCFS FOR "~!'RAORDINARY AND CArIPII,LING REASONS."


     Prior to Congress passing the First Step Act, the process for

compassionate release under § 3582(c)(1)(A) was as follows: - "the U.S.

Sentencing Commission set the criteria for resentencing relief under 5 3582(c),

and the only way a sentencing court could reduce a sentence was if the BOP


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  Director initiated and filed a motion in the sentencing court.    See PL 98, 473
 (HJRes 648), PL 98 473, 98 Stat. 1837 (Oct. 12, 1984).    If such a motion was
  filed, the sentencing court could then decide where "the reduction was

  justified by 'extraordinary and compelling reasons' and was consistent with

  applicable policy statements issued by the Sentencing Commission." Id.        So
  even if a federal prisoner qualified under the Corrrnission's definition of

 extraordinary and compelling reasons, without the BOP Director's filing a

 motion, the sentencing court had no authority to reduce the sentence, and the

 prisoner was unable to secure a sentence reduction. This process meant that,

 practically, the BOP Director both initiated the process and set the criteria

 for whatever federal prisoner's circumstances the Director decided to move

 upon.Z   Leaving the BOP Director with ultimate authority for triggering and

 setting the criteria for sentence reductions under S 3582(c)(1)(A) created

 several problems. Zhe Office of the Inspector General found that the BOP

 failed: to provide adequate guidance to staff on the criteria for

 compassionate release, to set timelines for reviewing compassionate release

 requests, to create formal procedures for informing prisoners about

 compassionate release, and to generate a system for tracking compassionate

 release requests. See FBOP Compassionate Release Program, at iv.    As a result


2•   The Department of Justice has recognized that, prior. to the passage of the
First Step Act, BOP (and not the Commission) functionally had final say on what
constituted an "extraordinary and compelling reasons" for a sentence reduction,
because only BOP could bring a motion under the terms of 5 3582(c)(1)(A). See
Dept of Justice, Letter to U.S. Sentencing Commission Chairman Hinojosa (July
14, 2007) (noting that because Congress gave BOP the powzr to control which
 articular cases will be brought to a court's attention, "it would be senseless
 for the Cor~nission] to issue policy statements allowing the court to grant
such motions on a. broader basis than the responsible agency will seek them").




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  of these problems, the OIG concluded that "BOP does not properly manage the

  compassionate program, resulting in inmates who may be eligible candidates for

  release not being considered." Id.;     General Stephen R. Sady & Lynn Deffel~ach,
  Second Look Resentencing Under 18 U.S.C. § 3582(c) as an Example of Bureau of

  Prisons Policies That Result in Overincarceration, 21 FID. SENT. RPTR. 167

 (F~b. 2009).

       Congress heard those complaints.     In late 2018, Congress passed the
  First Step Act, part of which transformed the process for compassionate

  release under 53582(c)(1)(A).   See P.L. 115-391, 132 Stat 5194, at §603
 (Dec. 21, 2018). Section 603 of the First Step Act changed the process by

  which S 3582(c)(1)(A) compassionate release occurs: instead of depending

  upon the BOP Director to determine an extraordinary circumstance and then

  move for release, a court can now resentence "upon motion of the defendant,"

  if the defendant has fully exhausted all administrative remedies, "or the

 lapse of 30 days from the receipt of such a request by the warden of the

 defendant's facility, whichever is earlier." 18 U.S.C. § 3852(c)(1)(A).

 Once the defendant who has properly exhausted files a motion, a court may,

 after considering the 18 U.S.C. 5 3553(aj factors, resentence a defendant,

 if the court finds that extraordinary and compelling reasons warrant a

 reduction.   Id. Any reduction of a sentence that a court orders must also

 be "consistent with applicable policy statements issued by the Sentencing

 Corrmission." Id. The effect of these new changes is to allow federal

 judges the ability to move on a prisoner's compassionate release application

 even in the face of BOP opposition or its failure to respond to a prisoner's

 request for compassionate release in a timely manner.

      Congress made these changes in an effort to expand the use of

 compassionate release reductions under 5 3582(c)(1)(A).    Congress labeled
 these changes, "Increasing the Use and Transparency of Compassionate

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  Release." 164 Cong. Rec. H10346, H10358 (2018) (emphasis added).            Senator
  Cardin noted in the record that the First Step Act made several reforms to

  the federal prison system, including that "[the] bill expands compassionate

  release under the Second Chance Act and expedites compassionate release

  applications." 164    Cong. R. 199, at 57774 (Dec. 18, 2018) (emphasis added)

  In the House, Representative Nadler noted that First Step included "a number

  of very positive changes, such     as...improving application of compassionate

  release, and providing other measures to improve the welfare of Federal

  inmates." 164 Cong. Rec. H10346-04, H10362 (Dec. 20, 2018) (emphasis

  added).

       Federal judges now have the power to order reductions of sentences even

  in the face of BOP resistance or delay in the processing of applications.

  The legislative history leading up to the enactment of the First Step Act

 compassionate release statute as the essential adjudicator of compassionate

 releaserequest, but also to grant sentence reductions on the full array of

 grounds reasonably encompassed by the "extraordinary and compelling"

 standard set forth in the applicable statute.


 D. STA nRY TF~P DEETNFS JUDICIAL SII~TiIIdCE RIDiJCTION AUIT30RI1Y AROUND
 ~~~TRAORDINARY AND OOMPELLING RFA.SONS,~• AND ~ POLIGY STA'          r'~ OF ~iE
 U.S. SIIVTIIdCING ~'BSSION UI~IDIIt § 1B1.13 DO N(7T PRF~C~IDE 'THIS QOiJIrT FROM
 RESIIVTII~TCING TAPIR.


      Once a prisoner has properly pursued administrative remedies and filed

 a motion for compassionate release, a federal court possesses authority to

 reduce a sentence if and whenever the court finds "extraordinary and

compelling" reasons warrant such a reduction.       A court must consider the 18

 U.S.C. 5 3553(a) sentencing factors in reducin any sentence, and any

reduction of a sentence that a court orders must also be "consistent with

applicable policy statements issued by the Sentencing Commission." 18 U.S.C.


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  § 3582(c)(1)(A).

       As=_ noted above, the Sentencing Commission created a catch-all

  provisions 'for compassionate release under U.S.S.G. § 1B1.13, application

  note (1)(D), which states:

       Other Reasons. As determined by tMe Director of the Bureau of Prisons,
       there.~exists in the defendant's case an extraordinary and compelling
       reason other than, or in combination with, the reasons described in
       subdivisions (A) through (C).

  The Commission also stated the process by which compassionate release

  reductions should be decided: Motion by the Director of Bureau of Prisons.

  A reduction under this policy statement may be granted only upon motion by

  the Director of the Bureau of Prisons pursuant to 18 U.S.C. 5 3582(c)(1)(A).

  U.S.S.G. ~ 1B1.13, application note 4.

       The dependence on BOP in these policy statements is a relic of the

  prior procedure that is now inconsistent with the First Step Act's amendment

  of § 3582(c)(1)(A).   Application note 9(D) can no longer limit judicial

  authority to cases with an initial determination by the BOP Director that a

  prisoner's case presents extraordinary and compelling reasons for a

 reduction, b~.~ause the First Step Act has allowed courts to consider and

 grant sentence reductions even in the face of an adverse or unresolved BOP

 determination concerning whether a prisoner's case is extraordinary or

 compelling. See 18 U.S.C. 5 3582(c)(1)(A), as amended by P.L. 115-391

 503 (Dec. 21, 2018).   And the Commission's now-dated statement indicating

 that the BOP must file a motion in order for a court to consider a

 compassionate release sentence reduction no longer controls in the -face of

 the new statutory text enacted explicitly to allow a court to consider a

 reduction even in the absence of a BOP motion. Id. With the First Step

 Act, Congress decided that federal judges are no longer constrained or
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   controlled by how the BOP Director sets its criteria for
                                                            what constitutes
   extraordinary and compelling reasons for a sentence reduct
                                                              ion.
   Consequently, those sections of the application notes
                                                         requiring a BOP
   determination or motion are not binding on courts.
                                                                 Stinson v. United States
   508 U.S. 36, 38 (1993) ("We decide that commentary
                                                      in the Guidelines Manual
   that interprets or explains a guideline is authroitativ
                                                           e unless it violates
   the Constitution or a federal statute, or is inconsistent
                                                             with, or a plainly
   erroneous reading of, that guideline.").          Put differently, now that the
  First Step Act has recast the procedural requirements
                                                        for a sentence
  reduction, even if a court finds there exists an extrao
                                                          rdinary and
  compelling reason for a sentence reduction without the
                                                         BOP Director's
  initial determination, then the sentence reduction
                                                     is not inconsistent
  "with the applicable policy statements issued by the Senten
                                                              cing Commission."
  18 U.S.C. § 3582(c)(1)(A~.



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         On March 25, 2019, movant sulxnitted an Inmate Request to Staff,

 BP.A148055 addressed to Warden Swain in requesting Compassionate Release under

 the First Step Act of 2018.     The request was sent to the E/F Unit team end

 answered by the E/F Unit Team.on Mai 6, .2019 (S~e=ExY3il~it=_A)_.       Movant spoke
 with the E/F Unit Team and explained what he was seeking regarding

 Compassionate Release and requested that his request be submitted to Warden

 Swain.    The Unit Team then presented movant with Warden Swain's Response dated

 April 1, 2019 (See Exhibit B).

      On Apzil 15, 2019, Movant was given a form from the Victorville Federal

 Medical Center concerning Compassionate Release (See Exhibit C-1 and C-2).

 Ma~rant filed aut the form and returned_ it to the Me~ic~1 ~7epartment. Ma~vant




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  marked the box for the category which he was requesting, Compassionate Release

  as for inmates over 65 years of age or older who have served more than 75% of

  the teen of imprisonment to which the inmate was sentenced by blacking in the

  entire box.    However, some BOP staff member marked a different box with an [X]

  on the category based on inmates over 65 with medical conditions who have

  served more than 50% of sentence.

       Four months later, on August 29, 2019, Warden Swain responded to movant's

  request for Compassionate Release misconstruing movants request for Compassion

  Compassionate Release as one for consideration under Section 4.b., Elderly

  Inmates, with Medical Conditions under PS 5050.50 (See Exhibit D).   BOP staff

 and Warden Swain have deliberately circumvented and misconstrued movants

 issues and reasons for requesting release or reduction of sentence pursuant

 to a Compassionate Release by evading the actual reasons for the request.

      The First Step Act of 2018 amended 18 U.S.C. § 3582(c)(1)(A)to allow

 District Courts to modify sentences of imprisonment upon motion by the

 defendant if "the defendant has fully exhausted all administrative rights to

 appeal a failure of the Bureau of Prisons to bring a motion on defendant's

 behalf or 30 days fran the receipt of such a request by the warden of the

 defendant's facility, whichever is earlier..." 5 603(b), 132 Stat. 5194,

 5239 (codified at 18 U.S.C.§ 3582(c)(1)(A)).   Tapia's initial request was

 filed on March 25, 2019 (Exhibit A), and finally denied by Warden Swain on

 August 29, 2019 (Exhibit D).   This movant has completed his duties to exhaust

 his administrative remedies and the Honorable Court has jurisdiction to reduce

 his sentence.


 STATIIKIIVT OF Ti3E CASE


      On November 28, 1989, Petitioner and four co-defendants were named in a

 six count Indictment, the first five counts chanrging all of them with



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   either conspiracy to possess with intent to distribute a controlled

   substance (cocaine) pursuant to 21 USC 5 846~possession with intent to

   distribute a controlled substance (cocaine) pursuant to 21 USC 5 841(a)(1).

   Count Six charged Petitioner alone with participating in a Continuing

   Criminal Enterprise pursuant to 21 USC 5 848(b).   Petitioner was arraigned
   and entered pleas of not guilty to all counts.

        On September 18, 1990, a jury was empaneled and trial commenced,

   ending on November 6, 1990, with the jury returning verdicts of guilty to
                                                                         ._
   all counts as to Petitioner's co-defendants, but unable to return a verdict

   regarding any counts against Petitioner, the Court then declaring a mistrial

   regarding him alone.

       On     December 18, 1990, a superceding Indictment was returned charging

  Petitioner with the same six violations/counts.

       On October 13, 1992, Petitioner's second jury trial began, ending on

  December 22, 1992, with the jury returning verdicts of guilty to all counts.

       On January 24, 1994, Petitioner was sentenced to five terms of forty

  years imprisonment for Counts One through five, and a term of life

  imprisonment for Count Six.   That same day Petitioner filed his Notice of

  Appeal which was litigated throughout the next eighteen months before the

  U.S. Court of Appeals for the Ninth Circuit which affirmed Petitioner's

  convictions and sentences on July 24, 1995, Appeal No. 94-50075.

       On April 29, 1998, Petitioner filed his Motion To Vacate Convictions

  and Sentences pursuant to 28 USC 5 2255, none of the issues raised therein

  being the issues raised herein, said Motion being denied on April 22, 1999.

      On May 3, 1999, Petitioner filed his Notice of Appeal and Petition For

 Certificate of Appealability in the District Court which denied said

 Petition on June 14, 1999, afterwhich Petitioner filed his Petition for

 Certificate of Appealability to the United States Cn~.~rt Of Appeal For The



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   Ninth Circuit on July 7, 1999, which denied said Petition on January 25,

   2000.

         On June 1, 1999, during the pendancy of Petitioner's Petition For

   Certificate of Appealability before the trial/District Court, the United

   States Supreme Court rendered its decision entitled Richardson -v- United

   States, 526 U.S.         , 143 L.Ed.2d. 985, 119 S.Ct. 1707, U.S. LEXIS 3640

   (1999).

        In February, 2000, Petitioner filed his Petition For Writ Of Habeas

   Corpus in the U.S. District Court of Colorado in which he presented his

   Jones and Richardson arguments which are I, II, .and III hereof attacking

   only Count Six~of the Indictment his conviction of violating 21 USC §

   848/"engaging in a continuing criminal enterprise" of which Petitioner was

   the "organizer" and "from which [he] obtained substantial income", (Case No.

   00-WM-525 of that court).

        On June 26, 2000, the United States Supreme Court rendered its decision

   entitled Apprendi -v- New Jersey. which       argument IV hereof is based upon.

   Shortly thereafter Petitioner was, against the law which governs

  jusrisdiction of cots entertaining petitions for writs of habeas corpus,

   transferred to the Federal Corr. Inst. at Phoenix, AZ., thereby removing

  petitioner from the jurisdiction of the U.S. District Court of Colorado.

       On January 31, 2001, said court denied Petitioner's Petition For Writ

  Of Habeas Corpus finding that he had not demonstrated he was

  prevented/"barred" from seeking the r..elief he sought via 28 USC § 2255.

  This petition follows.


  ABG[)MF~TT:


  TAPIA HAS ~TRAORDINARY AND COA~IP~ T.ING RFA.SONS JUSTIFYING A _ SII~TT~T~E._RIDiJCTION
  PURSUAI~TT 7i0 C~OA~PASSIONATE RE[~ASE.




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        First, Tapia received an unusually long sentence for a conviction of the

   Continuing Criminal Enterprise Statutes pursuant to 21 U.S.C. 5 848(b) and was

  given a leadership role under a pre-Booker United States Sentencing Guidelines

  (USSG) enhancement, which the Supreme Court found in 2005 in United States v.

  Booker, 543 J.S. 220, 125 S.Ct. 738, 160 L.Ed. 2d 621 (2005) that the

  guidelines were not mandatory.   At the time of movant's sentence they were.

  11~en in 2013, the Supreme Court found in Alleyne v. United States, 570 U.S.

  99, 133 S. Ct. 2151, 186 L. Ed. 2d 314 (2013), all facts used to raise a

  defendant's sentence must be found by a jury.

       Second, Congress has, since movant's sentence, found the penalty

  provisions under 21 U.S.C. § 841 excessively harsh and draconian, but has not

  made those recent changes retroactively applicable.   See 21 U.S.C. S 841(

  841(b)(1)(A), as amended P.L. 115-391., 132 State. 5194, at 5 401(i)-(ii)(c)

 (Dec. 21, 2018).


       Third, Tapia received an effective life sentence due to a trial penalty

  for exercising his fundamental constitutional rights.   If he had, instead,

  entered a guilty plea   and taken a plea agreement, he would have been at home

  with his family over a decade ago.

      Fourth, Tapia was erroneously found by the District Judge to be eligible

 for a leadership role, which at the    time was binding on the Court.   However,
 since the Booker and Alleyne decisions it is now the Jury's duty to find

 defendants accountable for enhancements such as leadership roles.    The USSG
 Guidelines were at the time of the movant's conviction and sentencing

 mandatory, but now, even with the rulings of Booker and Alleyne, the

 restriction in place within the A.E.D.P.A., movant does not have a

 jurisdictional vehicle to re-enter the guarded gates of the Court to request

 resentencing.   With the passage of the First Step Act of 2018, Congress




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  concluded that the mandatory minimums arising from 21 U.S.C. 5 841(b)(1)(A)

  provisions were punitive and unfair.

       Tapia's life sentence for a non-violent drug offense, pursuant to 21

  U.S.C. § 841(a)(1), Participating in a Continuing Criminal Enterprise pursuant

  to 21 U.S.C. § 848(b) and an erroneously applied pre-Booker Sentencing

  Guidelines Leadership Role enhancement certainly adds to a determination that

  there are extraordinary and compelling reasons for a sentence reduction.      And

  this is so, even thoughCongress failed to make the changes to 5 841(b) and 5

  848(b) retroactively applicable to cases in which the sentence was imposed

  prior to the First Step Act of 2018's enactment.    See P.L. 115-391, 132 Stat.

  5194, and 5 401(i)-(ii)(c) (Dec 21, 2018) (Applicability to pending cases.

  11zis section, and the amendments made by this section, shall apply to any

  offense that    was committed before the date of the enactment of this Act, if

  the sentence for the offense has not been imposed as of such date of the

  enactment."), Had Congress made the changes retroactively applicable to all,

  every defendant sentenced under § 841(b) to a mandatory 20 year sentence- with

  one prior conviction, or a life sentence with two or more prior drug conviction

 convictions wouia nave tieen categ~ricaily _eiigi~ e ror a reduction of sen~ence.

 By Contrast, those defendants sentenced under § 841(b) and 5 848(b) provisions

 and seeking relieve under the Compasssionate Release provisions must establish

 extraordinary and compelling reasons individually in order to be eligible for

 relief.   That Congress chose to foreclose all means of redressing draconian

 stares imposed under § 841 and § 848, there is nothing about Congress's

 decision to pass prospective-only changes to 5 841(b) prevents the Court from

 resentencing Tapia under the Compassionate Release Statute on the basis of

 individualized extraordinary and compelling reasons.

      There is an additional reason why Tapia's sentence presents extraordinary

 circumstances.   Tapia received such a long term of imprisonment, not due to his

 culpability, but due to a trial penalty.   By rejecting a plea bargain and
                                     15
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  exercising his right to a jury trial, Tapia consequently received a life

  sentence under the mandatory guideline regime.      See Gall v. United States, S.

  Ct. 586 (2007) (Second looks at substantive sentences includes "significant"

  procedural errors includ ing] errors such as "failing to calculate (or improper

  improperly calculating) the Guidelines range, treating the Guidelines as

  mandatory, failing to consider the § 3553(a) factors, selecting a sentence base

 based on clearly erroneousfacts or failing to adequately explain the chosen

  sentence - including an explanation for any deviation from the Guideline

 range.").      Gall, 2007 U.S. Lexis 13083, 2007 WL 4292116, at -`7.   That someone

 could receive      an effective sentence of life without parole for exercising the

 right to a jury trial is inconsistent with notions of fundamental fairness, and

 one way to remedy such injustices is through "second looks," whereby "[a]fter

 substantial service of a sentence, courts review lengthy sentences to ensure

 that sentences are proportionate over time." Tapia has now served over

  t~tn~~c-~y   years of imprisonment, and his sentence is grossly disproportionate

 to the crimes he committed, another extraordinary and compelling reason.

        Fifth, as stated in Warden Swain's denial of Tapia's Request for

 Corrq~assionate Release under the First Step Act, (Exhibit D), Warden Swain,

 determined that Tapia is over 65 years of age and has served at the time of the

 denial 29 years and 10 months of his sentence, which at the time of preperation

 of this motion is over 30 years of said sentence.      Warden Swain went on to

 determine that Tapia's records indicate that he has Ironic or serious medical

 conditions related to the aging process.      She went on to state in her denial

 that was not experiencing deteriorating mental or physical health that substant

 substantially di-ninishes his ability to function in a correction facility as

evidenced by his ability to independently perform his instrumental activities

of daily living (iADLs)
       Movant has spent 30 years of his life in a prison on this life sentence an

and now is a very old and feable man weighing right at a hundred pounds.       Tapia

                                        16
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  Tapia shuffles around the dangerous halls and over the tretcherous sidewalks

  of this young man's prison doing hisbest to slowly make it to the dining hall

  to try and eat and then back to his housing unit where all he can do is sit

  quietly and watch television.   Tapia cannot protect himself from the young

  predator inmates in this harsh prison environment.   Tapia's personal property

  is constantly taken from him by the young brutal inmates.   Tapia cannot fight

  back, he is only a 100 lb. old man who can hardly arise from his hard steel

  bunk much less fight a hoard of20 year old gang-banging sociopaths.

       Movant meets the age-relateddefinition of extraordinary and compelling

  circumstances in U.S.S.G. § 1B1.13 comment (n. 1(B)).   He is 68 years old, he

  is experiencing serious deterioration in physical health because of the aging

  process and he has served 30years in prison.

      Movant also meets the Other Elderly Inmates requirements definition of

 extraordinary and compelling circumstances in PS 5050.49(4)(c),   Inmates age 65
 or older who have served the greater of 10 years or 75% of the term of

 imprisonment.   Tapia is 68 years of age and has served 30years in prison, even

 though Warden Swain attempted to misconstrue Movant's Request for Compassionate

 Release.

     Sixth, Tapia also meets the requirements of U.S.S.G. 5 1B1.13 Comment

(n. (1)(D)), which permits a reduction when "there exists in defendant's case

 an extraordinary and compelling reason other than, or in combination with,

"the remainder of the Guidelines definiti~n4. Such a combination of factors

     Application Note 1 D , as currentl written, provides that such
 combination of circumstances will be "~a]s determined by the Director of the
 Bureau of Prisons." However, the current policy statement predates the
 encactment of the First Step Act and mot likely to be amended within the
 forseeable future due to lack of a sufficient number of serviing members of the
 Sentencing Commission. See United States v. Handerhan, NO 1:10-cr-00298, 2019
 WL 1437903 at ,
               - 1 n.4 (M.D. Pa 2019 unpublished     Because of current versions
 of the Guidelines policy statement conflicts with the First Step Act, the ___
 newly-enacted statutory provisions must be given effect. See Onited States v.
 Corrado-Cantu, ~no 1:~5-cr-458-1. Order at 6-11(S.D. Tex. June 1 , 201




                                       17
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   is present in Tapia's case.   Aside from the age related   factors previously

   discussed, there is the extraordinary degree of rehabilitation Tapia has

   accomplished during the 30 years of his incarceration up untilhis health

   began to fail due to the aging process.   That rehabilitation includes

   extensive ed~ational achievements, completing his GED, ACE classes,

   English-as-a-second language, multiple trades oriented classes, and

   several psychological Living Skills Programs.   Exhibit E)

      There is also a very important and very rare factual item of evidence

   which exists in defendant's case as being an extraordinary and compelling

  reason other than, or in combination with, the remainder of the Guideline

  definition noted supra on page 17 at footnote,4., that shows exactly what

   kind of man Tapia has evolved into. The rarity of this extraordinary

   factual item of evidence out-trumps every other possible piece of

  compelling evidence, is that it ~Yzas~ that Mr.Tapia is supported by Federal

   Bureau of Prison's high ranking staff members who   deal with Mr. Tapia on

  a daily basis.   l?n page 4 of Mr. Tapia's "Summary Reentry Plan - Progress

  Report" the Unit Team stated in the Release Planning Section:


            Inmate Anchondo is ser wing a sentence of LIFE. He will
            not be eligiblefor RRC placement. Although, it is my
            belief that he's ser~d his time for his offense, and
            should be released to his country of origin, which is
            Mexico.


   and then in the General Comments Section, the Unit Team concluded with this

  extraordinarily rare statement:


           Inmate Anchondo is the most pleasant inmate I've come
           across in my career in the Bureau of Prisons. He alway
           always has a positive message to pass on to staff
           members and fellow inmates. He does not get involved i
           in negative inmate behaviors and tends to keep to himse
           himself. He is extremely respectful to staff members,
           and although he is ser wing a life sentence, he tries to
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            keeps his spirits high. Anchondo was sentenced in 1994
            and if there was any inmate that deser ~d to get his se
            sentence commuted to Time Ser mod, its him. He has been
            incarcerated for a total of 30 years, and has never cre
            created any problems during his 30 year term. My hopes
            for this inmate is for him to experience his well deser
            deserved freedom while he's still healthy enough to
            enjoy it.


       There is also the factor in this combination, the fundimental change to

   sentencing policy carried out in the First Step Act's elimination of life

   imprisonment as a mandatory sentence solely by reason of a defendant's prior

   convictions 1 1: 401(a)(2)(A)(ii), 132 Stat. at 5220 (Codified at 21 U.S.C. §

   841(b)(1)(A)).   The combination of all these factors establishes the

   extraordinary and compelling reasons justifying the reduction of sentence.

       Seventh, Hector Tapia, now nearly 70 years of age, an old man, does not

   present a "danger to the safety of any other person or to the community, as

   pro vided in 18 U.S.C. 5 3142(g)" U.S.S.G. S 1B1.13(2).    Although Tapia was

  convicted of serious but not violent offenses, the evidence of rehabilitation

   during the inter mining 30 years, the extensive and close ties that Tapia

   maintains with his family here in the United States and Mexico, the evidence

   of the limitations that are now placed on Tapia's physical abilities, and the

  fact that Mr. Tapia will be returning to his native Mexico to live out the

  few remaining years or months of his life surrounded by his children,

  grandchildren, great-grandchildren, and great-great-grandchildren who will

  all take proper care of their patriarch show that Mr.    Hector Tapia presents

  no danger upon release.

      Finally, eighth, Tapia requests that the court consider the factors set

  out in 18 U.S.C.S 3553(a), and conclude that, in light of the changed

  circumstances explained above, a sentence of time ser mod, representing 30

  years in prison, reflects the seriousness of the offense, promotes respect

  for the law and provided just punishment, 18 U.S.C. S 3553(a)(2)(A).     Showing
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   that this sentence will also avoid unwarranted disparities among defendants

   with similar records convicted of similar conduct in this same case because

   this 30 year sentence exceeds the sentences imposed on the other members of

   the drug-trafficking conspiracy 18 U.S.C. 3553(a)(6).    Mr. Tapia requests

   that this honorable court conclude that Mr. Tapia does not represent a danger

   to any person or the community and conclude that this sentence has served and

   continues to ser ~ as an adequate deterrence and to protect the public from

   father crimes of the movant which, given Mr. Tapia's age and rehabilitation,

   and that the court be assured will not occur 18 U.S.C. § 3553(a)(2)(B)(C).


  [YlN(:f Ii.ST(1N



        For the foregoing reasons, Mr. Hector Tapia's prayer is that this

   Honorable Court takes a second look at movant's excessive life sentence,

   modify 1t to time ser mod, and or any other sentence that this Court deems

   just and appropriate.


   Respectfully submitted on this   ~~        day of   C'~~` `~v ~ E- ~   , 2019.


                                                          ~~~Anchondo Tapia
                                                         .ector
                                                           ~ ~ ~-   /V
                                                                          )

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                                                       Reg. No. 25730-048
                                                       VIM-I
                                                       P.O. Box 3725
                                                       Adelanto, CA 92301




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        CE~ZTIFICA~'E O~ 5~~~CE

   I~  HECTOR TAPIA ANCHONDO         hereby certify that I have served a true
   and correct copy of the following:

  Motion for Reduction of Sentence Pursuant to 18 U.S.C. § 3582(C)(1)(A)



  Which is deemed filed at the time it was delivered to prison authorities for
  forwarding, Houston v. Lack, 101 L.Ed.2d 245 (1988), upon the defendant/
  defendants and or his attorney/attorneys of record, by placing same in a
  sealed, postage prepaid envelope addressed to:

   U.S. Attorney's Office
   Central District of California
   312 N. Spring St. 1200 US Courthouse
   Los Angeles, CA 90012


  and deposited same Yn the United States Mail at the Federal Correctional
  institution, Victorville-One in Adelanto, CA 92301

  I declare, under penalty of perjury (Title 28 U.S.C. §1746), that the
  foregoing is true and correct.




  Dated this   ~ day of   ~ ~~ be'~            20 19




                          `                  HECTOR TAPIR ANCHONDO 25730-048
                                             VIM-1
                                           ~ P.O.BOX 3725
                                             ADE~ANTO', ~ca 92301 ~~ .




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 Case 2:89-cr-00874-TJH Document 927 Filed 11/06/19 Page 22 of 31 Page ID #:316



                                                                     U.S. DEPARTMENT OF JUSTICE
  S£F g$                                                              FEDERAL BUREAU OF PRISONS
  INMATE REi       T TO. STAFE




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  Name: Anchondo, Hector Tapia
  Register No.: 25730-048
  Unit: F1/2


  This is in response to your Inmate Request to Staff received in
  this office on March 25, 2019. In your request, you state that
  you qualify for a Compassionate Release/Reduction in Sentence as
  an eligible elderly offender.

 Your request was presented to your unit manager. The Department
 of Justice is currently conducting a risk and needs assessment
 of the new criminal law titled, "First Step Act," signed into
 law by the President. This law is not effective immediately nor
 is applicable to every case. The law will be effective once the
 assessment is released by the Attorney General. If your case is
 applicable .to this law, re-computation of your sentence will
 occur upon the effective date.

 I trust this response addresses your concerns.




  . L. Swain, Warden                       Dat




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                                                / ~~ 11/06/19
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 INMATE REQUEST FOR COMPASSIONATE RELEASE CQNTINUATION PAGE
 HECTOR TAPIA ANCHONDA       # 25730-048            VIM-I   F-Lower


 Section 1. CATE(,ORY FOR COMPASSIONATE RELEASE
         My request is based on Program Statement 5050.50 Section (4)(c), 18 U.S.C. §
         3582(c)(1~.(i.i) and 4204(g).
            I qualify because I am age 67, and have served 30 years of my sentence.

 Section 2. ~'RAOI3DINARY OR CAMPELLING CIRCUMSTAI~TCES
         I believe that compasionate release should be given to me because I am an
         elderly inmate who has completed 30 years of my time and that my age is a
         threat to the safe and secure operation of any prison in the BOP. I do have
         problems functioning in this harsh prison environment.

 Section 3. PROPOSED RII.EASE PLAN
        My release plan consists of, first, being deported to t~lexico where I will
        live out the remainder of my life witY~ my sister in the home that I own.
        My sister' will be my caregiver and any medical bills will ~e taken care
        of by ISSTE SEGURO SOCIAL OF N~XICA, which will alleviate any burden upon
        the lfiited States.

        SISTER:
        Maria Auror Tapia Anchonda
        Calzada del Rio # 8316, Casa 1
        Villa Campestre
        Cd. Juarez C~ih. CP 32560

        Cell phone: 011 52 1 656-191-9201


Personal Information

DOB 07/25/51
Arrest date: 09/28/1989
Sentence: Life
Qzarge: RICO
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        O                                           ~       v




    Inmate Name: ANCHONDO,Hector
    Register No.: 25730-048
    FCI I Victorville — F-Lower


    This is in response to your correspondence dated April 15, 2019, in which you request to be
    considered for a reduction in sentence(RIS)in accordance with Program Statement 5050.50,
    Comuassionate ReleaseJReducrion in Sentence• Procedures for Imnlementarion of 18 U S C
    3582(cl(1)(A)and 4205(g~, dated January 17, 2019. Specifically, you requested consideration
    under Section 4.b., Elderly Inmates with Medical Conditions.

   In reviewing the criteria for the provision noted above, it was determined you are over 65 years
   ofage and have served 29 years and ]0 months of your sentence. In addition, records indicate
   you have chronic or serious medical conditions related to the aging process. However, you are
   not experiencing deteriorating mental or physical l~saith that substantially diminishes your ability
   to function in a correctional facility as evidenced by your ability to independently perform your
   instrumental activiries ofdaily living(iADLs).

   After cazeful review of this information, your request for Compassionate Release/RIS is denied.
   In accordance with Program Statement 5050.50, you may appeal this decision through the
   Administrative Remedy Program.

   Health Services staffwill continue to monitor your conditions as clinically indicated. I suggest
   you work with your designated medical providers to address your needs, as they may arise.

   I trust this addresses your request.



                                                                          ~z~.~ ~
   C.    ain, Warden                                                   Date




                                                                                           ~xh~ ~~~ ~
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                                 Summary Reentry Plan -Progress Report                                                    SEQUENCE: 00139431
     '~'';~`                            Dept. of Justice / Federal Bureau of Prisons                              Report Date: 10-24-2019
        -                         Plan is for inmate: ANCHONDO, HECTOR TAPIA 25730-048


                  ~,,..,;              Facility:   VIM VICTORVILLE MED I FCI      Custody Level: IN
                 ~ ~:
                                        Name:      ANCHONDO, HECTOR TAPIA         Security Level: MEDIUM
                      ~` ~        Register No.:    25730-048                       Proj. Rel Date: UNKNOWN
             '< -~ ~,~~
                    .to-             Quarters:     F02-220L                     Release Method: LIFE
                      1 ~                  Age:    68                      DNA Status: VVM03543 / 05-18-2011
                      ~~        ~ Date of Birth:   07-26-1951


Offenses and Sentences Imposed
Charge                                                                                                    Terms In Effect
21 USC 848, CONTINUING IN A CRIMINAL ENTERPRISE, CT 6 21 USC 846, 841(A)(1)                               LIFE
CONSPIRACY, P/W/I/T/D COCAINE, CTS 1-5

Date Sentence Computation Began: 01-24-1994
Sentencing District:  CALIFORNIA, CENTRAL DISTRICT
Days FSGT / WSGT / DGCT                 Days GCT or EGT /SGT          Time Served                        +Jail Credit - InOp Time
            0/        0/    0              0                          Years: 30 Months: 0 Days:          + 1578     JC - 0    InOp

Detainers
Detaining Agency                                         Remarks
NO DETAINER

Pending Charges
~i    _
Program Plans
 Inmate Anchondo is a citizen of Mexico, and is not required to take RPP classes. Although, he tends to keep himself busy via exercising on the
 recreation yard.


Current Work Assignments
IFacl            Assignment      Description                                             Start
VIM              UNASSGN         UNASSIGNED NEW INMATES                                  10-03-2019
Work Assignment Summary
 Inmate Anchondo is unassigned from work. He chooses to spend his idle time on his health and fitness.


Current Education Information
Facl     Assignment Description                                                          Start
VIM              ESL HAS         ENGLISH PROFICIENT                                      03-31-1994
VIM              GED HAS         COMPLETED GED OR HS DIPLOMA                             03-31-1994
Education Courses
SubFacl Action                   Description                                             Start                       Stop
VIM               C              RPP FCC AIDS AWARENESS(C1)                              07-05-2018                  07-05-2018
VVM               C              ADVANCED CROCHET CLASS                                  10-11-2014                  11-29-2014
VVM               C              HOME WIRING, FRI., 630 P.M.                             07-09-2010                  09-03-2010
WM                C              VT COMPUTER 12-2:00 P.M. M-F                            0331-2009                   06-24-2009
VVM               C              ACE AUSTRALIA                                           12-29-2008                  01-16-2009
VVM               C              RPP FCI FATHER SUPPORT (C6)                             02-07-2008                  03-16-2008
VVM               C              INTRO TO LEGAL RESEARCH                                 04-17-2006                  06-22-2006
WM                C              PARENTING                                               02-17-2006                  05-09-2006
PHX               P              APP.ELECT UTIL WRK 6000 HRS                             O4-01-2003                  05-16-2005
PHX               W              ELECTRONICS AD 3:30-530                                 03-28-2001                  06-06-2001
PHX               C              ELECTRONICS VT PROGRAM                                  02-06-2001                  06-05-2001
PHX               C              ELECTRONICS BASIC 4C                                    02-06-2001                  03-28-2001
PHX               C              RPP/HLTH -AIDS AWARENESS                                0130-2001                   01-30-2001

Sentry Data as of 10-24-2019                          Summary Reentry Plan -Progress Report                                             Page 1 of 4



                                                                                                                                       ~x~~~t~ ~
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   ~- ~;                     Summary Reentry Plan -Progress Report                                                    ssQ~xcE:   00139431
      ta'~~~~                      Dept. of Justice / Federal Bureau of Prisons                                Report Date: 10-24-2019
                             Plan is for inmate: ANCHONDO, HECTOR TAPIA 25730-048

SubFacl Action                Description                                              Start                      Stop
LOM             W            ESL 930-11:30 AM MS. SHIFFRAR                             03-18-1994                 05-10-1994
Education Information Summary
 Inmate Anchondo is educated and has his High School diploma.


 Discipline Reports
(Hearing Date                Prohibited Acts
05-12-2003                   397 : PHONE ABUSE - NO CIRCUMVENTION
Discipline Summary
 Inmate Anchondo is not a management concern. He is the contrary. He does raise any disciplinary concerns to the unit team.


ARS Assignments
IFacl      Assignment                   Reason                                         Start                      Stop
VIM                 A-DES               OTHER AUTH ABSENCE RETURN                     10-03-2019                  CURRENT
VIM                 A-DES               OTHER AUTH ABSENCE RETURN                     09-25-2019                  10-03-2019
VIM                 A-DES               OTHER AUTH ABSENCE RETURN                     09-20-2019                  09-25-2019
VIM                 A-DES               OTHER AUTH ABSENCE RETURN                     09-09-2019                  09-20-2019
VIM                 A-DES               OTHER AUTH ABSENCE RETURN                     06-24-2019                  09-09-2019
VIM                 A-DES               OTHER AUTH ABSENCE RETURN                     06-11-2019                  06-24-2019
VIM                 A-DES               OTHER AUTH ABSENCE RETURN                     05-10-2019                  06-11-2019
VIM                 A-DES               OTHER AUTH ABSENCE RETURN                     02-13-2019                  05-10-2019
VIM                 A-DES               OTHER AUTH ABSENCE RETURN                     12-14-2018                  02-13-2019
VIM                 A-DES               OTHER AUTH ABSENCE RETURN                     11-26-2018                  12-14-2018
VIM                 A-DES               OTHER AUTH ABSENCE RETURN                     10-24-2018                  11-26-2018
VIM                 A-DES               OTHER AUTH ABSENCE RETURN                     09-28-2018                  10-24-2018
VIM                 A-DES               OTHER AUTH ABSENCE RETURN                     08-22-2018                  09-28-2018
VIM                 A-DES               OTHER AUTH ABSENCE REtURN                     OS-17-2018                  08-22-2018
VIM                 A-DES               OTHER AUTH ABSENCE RETURN                     07-18-2018                  OS-17-2018
VIM                 A-DES               TRANSFER RECEIVED                             06-06-2018                  07-18-2018
WM                  A-DES               OTHER AUTH ABSENCE RETURN                     05-07-2018                  06-06-2018
VVM                 A-DES               OTHER AUTH ABSENCE RETURN                     05-03-2018                  05-07-2018
VVM                 A-DES               OTHER AUTH ABSENCE RETURN                     03-25-201 S                 05-03-2018
VVM                 A-DES               OTHER AUTH ABSENCE RETURN                     09-28-2017                  03-21-2018
WM                  A-DES               OTHER AUTH ABSENCE RETURN                     08-20-2007                  09-28-2017
WM                  A-DES               TRANSFER RECEIVED                             10-03-2005                  08-20-2007
PHX                 A-DES               TRANSFER RECEIVED                             01-24-2001                  10-03-2005
FLP                 A-DES               OTHER AUTH ABSENCE RETURN                     11-16-1995                  01-12-2001
FLP                 A-DES               OTHER AUTH ABSENCE RETURN                     11-03-1995                  11-16-1995
FLP                 A-DES               TRANSFER RECEIVED                             06-23-1995                  11-03-1995
LOM                 A-DES               TRANSFER RECEIVED                             03-15-1994                  06-23-1995
Current Care Assignments
Assignment           Description                                                      Start
CARE1                        HEALTHY OR SIMPLE CHRONIC CARE                           01-07-2005
CARE1-MH                     CARE1-MENTAL HEALTH                                      11-17-2010
Current Medical Duty Status Assignments
Assignment            Description                                                     Start
LOWER BUNK                   LOWER BUNK REQUIRED                                      03-05-2018
NO F/S                       NO FOOD SERVICE WORK                                     03-16-1994
PAPER                        LEGACY PAPER MEDICAL RECORD                              06-29-2019
REG DUTY                     NO MEDICAL RESTR--REGULAR DUN                            02-22-2016
SOFT SHOES                   SOFT SHOES ONLY                                          04-02-2018
Current PTP Assignments
Assignment           Description                                                      Start

Sentry Data as of 10-24-2019                        Summary Reentry Plan -Progress Report                                      Page 2 of 4
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                                Summary Reentry Plan -Progress Report                                                           SEQUENCE: 00139431
                                      Dept. of Justice / Federal Bureau of Prisons                                      Report Date: 10-24-2019
      -                         Plan ie for inmate: ANCHONDO, HECTOR TAPIA 25730-048

Assignment                      Description                                                   Start
NO ASSIGNMENTS

Current Drug Assignments
Assignment       Description                                                                  Start
ED COMP                  DRUG EDUCATION COMPLETE                                              11-03-1999
Physical and Mental Health'Summary
Inmate Anchondo takes the initiative to put his health as his first priority while he serves his sentence. The unit team believes that this is beneficial to his
outlook on life and prevents him from adhering to negative thinking and behaviors.


FRP Details
Most Recent Payment Plan
FRP Assignment:       NO OBLG FINANC RESP-NO                  Start: 02-28-2019
I nmate Decision: AGREED         $50.00           Frequency: MONTHLY
Payments past 6 months:    $0.00          Obligation Balance: $0.00
Financial Obligations
No.          Type               Amount          Balance            Payable                                 Status
1            FINE               $48,000.00      $47,600.00         IMMEDIATE                               EXPIRED
                                    "NO ADJUSTMENTS MADE IN LAST 6 MONTHS"


             Responsibility Summary
 I nmate Anchondo does not have any financial obligations to fulfill at this time. His fine has expired.


Release Planning.
Inmate Anchondo is serving a sentence of LIFE. He will not be eligible for RRC placement. Although, it is my belief that he's served his time for his
offense, and should be released to his country of origin, which is Mexico.


General Comments
I nmate Anchondo is the most pleasant inmate I've come across in my career in the Bureau of Prisons. He always has a positive message to pass on to
staff members and fellow inmates. He does not get involved in negative inmate behaviors and tends to keep to himself. He is extremely respectful to
staff members, and although he is serving a life sentence, he tries to keeps his spirits high. Anchondo was sentenced in 1994, and if there was any
inmate that deserved to get his sentence commuted to Time Served, its him. He has been incarcerated for a total of 30 years, and has never created
any problems during his 30 year term. My hopes for this inmate is for him to experience his well deserved freedom while he's still healthy enough to
enjoy it.




Sentry Data as of 10-24-2019                            Summary Reentry Plan -Progress Report                                                  Page 3 of 4
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